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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 07-60027-CR-ZLOCH/Snow




  UNITED STATES OF AMERICA,

              Plaintiff,

  v.

  FRANK HERNANDEZ, et al.
            Defendants.
  ______________________________


                                   O R D E R


              THIS CAUSE is before the Court on defendant Steven

  Marhee’s Motion to Join and Adopt Co-Defendants’ Motions (DE 576).

  Being fully advised, it is hereby

              ORDERED    AND   ADJUDGED   that   the   motion   is    GRANTED.

  Defendant Steve Marhee is permitted to adopt the following motions:

              1.   Defendant    Howard    Helfant’s    Motion    to    Dismiss

  Indictment (DE 472);
              2.   Defendant Paul Wiseberg’s Motion to Dismiss Counts 1

  and 9-12 of the Indictment (DE 482);

              3. Defendant Hannibal Edwards’ Second Motion to Dismiss

  Indictment (DE 524);

              4. Defendant Howard Helfant’s Motion for Disclosure of

  Grand Jury Minutes (DE 528);

              5.   Defendant Howard Helfant’s Motion to Sever (DE 526);
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              6.    Defendant Howard Helfant’s Motion for Disclosure of

  Grand Jury Minutes (DE 528);

              7.     Defendant Emmanuel Antonio’s Motion to Sever (DE

  532);

              8.    Defendant Theophilos Antoniou’s Motion to Sever (DE

  535);

              9.     Defendant Frank Hernandez’ Motion to Suppress (DE

  533), and

              10.     Defendant     Hannibal   Edwards’     Motion   for   Order
  Disclosing Government’s Instructions to Grand Jury (DE 552), except

  as   to   any    matter   where   standing   is   an   essential   element   of

  participation.       Any appeal from or objection to any magistrate

  judge ruling must be taken individually, specifically and timely.

              DONE AND ORDERED at Fort Lauderdale, Florida, this 30TH
  day of August, 2007.




  Copies to:
  AUSA Ellen Cohen (WPB)
  Richard Hersch, Esq. (D-Frank Hernandez & Amada Hernandez)
  Chris Grillo, Esq. (D-Marhee)
  Greg Ross, Esq. (D-Marhee)
  Bruce Lyons, Esq. (D-Antonio)
  Joe Rosenbaum, Esq. (D-Pinkoff)
  Jon May, Esq. (D-E.V.A. Global & Tropical)
  David Bogenschutz, Esq. (D-Antoniou)
  David Vinikoor, Esq. (D-Wiseberg)
  Jeffrey Voluck, Esq. (D-Helfant)
  Sean Ellsworth, Esq. (D-Francois)
  Alberto Acuna, Esq. (D-Concept RX)
  Jeff Harris, Esq. (D-Cruz)
  Michael Hursey, Esq. (D-Walker)
  Richard Della Fera, Esq. (D-Echols)
  Dan Forman, Esq. (D-Edwards and Local Counsel for Hardiman)
  Mark Hardiman, Esq. (D-Edwards)
  AFPD Chantel Doakes (FTL) (D-Baron)


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